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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE

 SENTINEL INSURANCE COMPANY, LTD.,

       Plaintiff,
                                                            Civil Action No. 19-cv-20142-RMB-AMD
              -vs-
                                                             ORDER FOR SUMMARY JUDGMENT
 CONRAD J. BENEDETTO, individually and doing
 business as THE LAW OFFICES OF CONRAD J.
 BENEDETTO, and JOHN GROFF,

      Defendants.
 CONRAD J. BENEDETTO, THE LAW
 OFFICES OF CONRAD J. BENEDETTO, and
 JOHN GROFF,

       Plaintiffs,

              -vs-

 SENTINEL INSURANCE COMPANY, LTD.,
 JOHN DOES and ABC ENTITIES A-Z,

       Defendants.


        This matter having been raised by Sentinel Insurance Company, Ltd. (“Sentinel”) and the

 Court having considered the submissions and argument of the parties,

        It is on this _________ day of ________________, 2020:

        ORDERED that Sentinel’s motion for summary judgment is hereby granted and that all

 claims asserted against Sentinel in this action are dismissed with prejudice; and

        IT IS FURTHER ORDERED, AJUDGED AND DECLARED that Sentinel is not

 obligated to defend or indemnify Conrad J. Benedetto, The Law Offices of Conrad J. Benedetto,
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 and John Groff in connection with two lawsuits captioned Brian Nunez v. The Law Offices of

 Conrad J. Benedetto, et al., Case No. CAM-L-003997-18 (N.J. Super. Ct., Camden Co.), and

 Javier Nava v. The Law Offices of Conrad J. Benedetto, et al., Case No. CAM-L-004588-18

 (N.J. Super. Ct., Camden Co.).



                                            ___________________________________
                                            HONORABLE RENÉE MARIE BUMB

 _____ Opposed

 _____ Unopposed




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